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                                 132862



                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                              Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                 MDL No. 2570




This Document Relates to Plaintiff(s)

CLARA KEISTER

Civil Case # 1:17-cv-00277-RLY-TAB


   ORDER ON PLAINTIFF’S UNOPPOSED MOTION TO SUBSTITUTE PLAINTIFF



       THIS MATTER having come before the Court upon Plaintiff’s Unopposed Motion to

Substitute Plaintiff pursuant to Fed. R. Civ. P. 25(a)(1), and for good cause shown,

       IT IS HEREBY on this                   day of           , 2022

       ORDERED that Plaintiff’s Unopposed Motion to Substitute Plaintiff is granted.


       IT IS SO ORDERED.



                                        By:
                                              JUDGE
